 1 David A. Nelson (Ill. Bar No. 6209623; pro hac vice)
   davenelson@quinnemanuel.com
 2 QUINN EMANUEL URQUHART & SULLIVAN, LLP
 3 500 West Madison St., Suite 2450
   Chicago, IL 60661
 4 Telephone: (312) 705-7400
   Facsimile: (312) 705-7401
 5
   Karen P. Hewitt (State Bar No. 145309)
 6 kphewitt@jonesday.com
 7 Randall E. Kay (State Bar No. 149369)
   rekay@jonesday.com
 8 JONES DAY
   4655 Executive Drive, Suite 1500
 9 San Diego, CA 92121.3134
10 Telephone: (858) 314-1200
   Facsimile: (844) 345-3178
11
   Evan R. Chesler (N.Y. Bar No. 1475722; pro hac vice)
12 echesler@cravath.com
   CRAVATH, SWAINE & MOORE LLP
13
   825 Eighth Avenue
14 New York, NY 10019
   Telephone: (212) 474-1000
15 Facsimile: (212) 474-3700
16 [Additional counsel identified on signature pages]
17 Attorneys for Counterclaim-Defendants
18 QUALCOMM INCORPORATED
   QUALCOMM TECHNOLOGIES, INC.
19
20                     UNITED STATES DISTRICT COURT

21                          SOUTHERN DISTRICT OF CALIFORNIA

22             QUALCOMM INCORPORATED,              Case No. 3:17-CV-01375-DMS-MDD
23                            Plaintiff,           COUNTERCLAIM-DEFENDANTS
                                                   QUALCOMM INC.’S AND
24                   v.                            QUALCOMM TECHNOLOGIES,
                                                   INC.’S OPENING CLAIM
25             APPLE INCORPORATED,                 CONSTRUCTION BRIEF
26                            Defendant.
27             AND RELATED
               COUNTERCLAIM.
28
                                                                  Case No. 3:17-cv-01375-DMS-MDD
     [title]
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 8   Exhibit E                      U.S. Patent No. 7,383,453 to Youngs1

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14                                  Office Action during prosecution of the ’940 patent
15
     Exhibit J                      U.S. Patent No. 8,271,812 to de Cesare et al.
16
     Exhibit K                      U.S. Patent No. 8,443,216 to de Cesare et al.
17
     Exhibit L                      U.S. Patent No. 8,656,196 to de Cesare et al.
18
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20
     Exhibit N                      February 24, 2012 Office Action during
21                                  prosecution of the ’812 Patent
22   Exhibit O                      May 16, 2012 Response to Office Action during
23                                  prosecution of the ’812 patent
24   Exhibit P                      Excerpts from the August 3, 2018 Deposition of
25
26     1
         To aid in the Court’s review of the ’453 Patent claims, Qualcomm has included
27 a listing of claims as amended with Exhibit E.
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3                                Dr. Vincent Mooney

4    Exhibit R                   U.S. Patent No. 7,120,061 to Daga
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3
4    ’216 Patent                    U.S. Patent No. 8,443,216

5    ’453 Patent                    U.S. Patent No. 7,383,453
6    ’534 Patent                    U.S. Patent No. 8,098,534
7    ’559 Patent                    U.S. Patent No. 7,760,559
8    ’812 Patent                    U.S. Patent No. 8,271,812
9    ’905 Patent                    U.S. Patent No. 8,098,534
10
     ’940 Patent                    U.S. Patent No. 8,433,940
11
     Apple                          Apple Inc.
12
     Campbell Patents               U.S. Patent Nos. 7,355,905; 7,760,559; and
13                                  8,098,534
14
     de Cesare Patents              U.S. Patent Nos. 8,271,812; 8,443,216; and
15                                  8,656,196
16   Qualcomm                       Qualcomm Inc. and Qualcomm Technologies, Inc.
17   USPTO                          United States Patent and Trademark Office
18
     xx:yy-zz                       When citing to a patent, “xx” refers to the column
19                                  and “yy-zz” refers to the lines numbers.
20                                  When citing to a deposition transcript, “xx” refers
21                                  to the page and “yy-zz” refers to the lines numbers.

22   Youngs Patents                 U.S. Patent Nos. 7,383,453 and 8,433,940
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 1                                    INTRODUCTION
 2         Qualcomm’s claim constructions track the meanings ascribed to the disputed
 3 terms by the applicants and, where appropriate, correctly identify the terms that fail
 4 to inform those skilled in the art about the scope of the inventions with reasonable
 5 certainty. Apple’s constructions, on the other hand, conflict with the intrinsic record
 6 and should be rejected.
 7                                  LEGAL STANDARD
 8         A claim term is construed to “have the meaning that the term would have to a
 9 person of ordinary skill in the art … at the time of the invention.” Phillips v. AWH
10 Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en banc). “The person of ordinary
11 skill in the art is deemed to read the claim term not only in the context of the
12 particular claim in which [it] appears, but in the context of the entire patent,
13 including the specification.” Id. Courts look first to the intrinsic evidence, i.e., the
14 claim language, specification, and prosecution history. Id. at 1314-17. Sometimes,
15 “the specification may reveal a special definition given to a claim term by the
16 patentee that differs from meaning that it would otherwise possess,” or it “may
17 reveal an intentional disclaimer of claim scope by the inventor.” Id. at 1316. “[T]he
18 prosecution history can often inform the meaning of the claim language by
19 demonstrating how the inventor understood the invention and whether the inventor
20 limited the invention in the course of prosecution, making the claim scope narrower
21 than it would otherwise be.” Id. at 1317. Courts may also consider extrinsic
22 evidence (e.g., dictionaries and expert testimony), but such evidence must be
23 “considered in the context of the intrinsic evidence.” Id. at 1317, 1319.
24         Indefinite patent claims are invalid. Nautilus, Inc. v. Biosig Instruments, Inc.,
25 134 S. Ct. 2120, 2124 (2014). A patent claim is indefinite if the claim, when read in
26 light of the specification and prosecution history, “fail[s] to inform, with reasonable
27 certainty, those skilled in the art about the scope of the invention.” Id. Thus, while
28 acknowledging that absolute precision is unattainable, a patent “must be precise
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 1 enough to afford clear notice of what is claimed, thereby apprising the public of
 2 what is still open to them.” Id. at 2129 (internal quotation marks omitted).
 3                                       ARGUMENT
 4 I.       The Campbell Patents
 5          The Campbell Patents pertain to an integrated circuit having a logic circuit
 6 and a memory circuit. “Power consumption in an integrated circuit is related to the
 7 supply voltage provided to the integrated circuit.” (Ex. A at 1:28-29.) “Reducing
 8 the supply voltage generally leads to reduced power consumption.” (Id. at 1:36-37.)
 9 But lowering the supply voltage too much makes reading and writing memory
10 unreliable. (Id. at 1:37-63.) The Campbell Patents claim an “integrated circuit” that
11 is supplied by two different voltages, the first for the “logic circuit” and the second
12 for the “memory circuit.” (Id. at Fig. 1, 2:53-58.) This allows the logic circuit’s
13 voltage to be lower than the memory circuit’s voltage, reducing power consumption
14 while maintaining memory circuit stability. (Id. at 3:22-30.)
15          A.    “integrated circuit” (’905 Patent, ’559 Patent, and ’534 Patent)
16                                     “integrated circuit”
                      Apple’s Construction                   Qualcomm’s Construction
17
        “one or more circuit elements that are integrated “a chip made up of connected
18      onto a single semiconductor substrate”              circuit elements”
19          Qualcomm’s construction is the meaning a person of skill in the art would
20 give “integrated circuit” in the context of the Campbell Patents’ specification and
21 prosecution history. The “integrated circuit” cannot be simply any arbitrary set of
22 “one or more circuit elements that are integrated onto a semiconductor substrate,” as
23 Apple proposes. Instead, the intrinsic evidence dictates that the “integrated circuit”
24 be “a chip made up of connected circuit elements,” as Qualcomm proposes.
25          The claim language requires “input[s]” to the “integrated circuit.” Thus, the
26 “integrated circuit” must have a discernable boundary with inputs on which “a [first
27 / second] supply voltage [is] received,” and from which “the [first / second] voltage
28 domain receiv[es] power.” (Ex. A at claim 1; Ex. B at claim 1.) Contrary to this
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                         QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 language, Apple proposes that any arbitrary collection of “one or more circuit
 2 elements that are integrated onto a single semiconductor substrate” can be the
 3 “integrated circuit.” Apple’s proposal provides no notice of the boundaries of the
 4 “integrated circuit” and how to identify its “input[s]” as the claims require.
 5          The specification’s description of the “integrated circuit” further supports
 6 Qualcomm’s construction. The patentees did not describe the integrated circuit as
 7 any arbitrary set of circuit elements, or a single element, on a substrate. Instead, the
 8 specification explains that the integrated circuit is a chip of connected logic and
 9 memory circuits: “The integrated circuit 10 may generally comprise the logic
10 circuits 12 and the memory circuits 14 integrated onto a single semiconductor
11 substrate (or chip).”2 (Ex. A at 2:61-63 (emphasis added); see also id. at Fig. 1.)
12 Thus, the “integrated circuit” is the entire chip made up of connected logic and
13 memory circuit elements, not just any arbitrary subset of circuit elements within a
14 chip. (Ex. A at 2:61-63, Fig. 1; see also Ex. D at ¶¶ 114-118.) Apple’s contrary,
15 dictionary definition-style construction ignores the specification’s disclosure.
16 UltimatePointer, LLC v. Nintendo Co., 816 F.3d 816, 823-24 (Fed. Cir. 2016)
17 (proposed meaning overbroad “in the specific context of the specification”);
18 Decisioning.com, Inc. v. Federated Dep’t Stores, Inc., 527 F.3d 1300, 1308 (Fed.
19 Cir. 2008).
20          Most importantly, the applicants’ claim amendments and arguments to the
21
22      2
          Semiconductor substrate and chip are synonyms. (Ex. D at ¶ 113; Ex. 13 to Ex.
23   D at 277 (“Integrated circuit n. A device consisting of a number of connected
     circuit elements, such as transistors and resistors, fabricated on a single chip of
24   silicon crystal or other semiconductor material. . . . Also called: chip.”); Ex. 14 to
25   Ex. D at 166, 570 (“chip . . . A small piece of silicon or other semiconductive
     material on which circuits can be placed”; “integrated circuit . . . A combination of
26   interconnected circuit elements inseparably associated on or within a continuous
27   substrate. . . . Synonyms: chip.”).)
28
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 1 USPTO distinguishing the prior art refute Apple’s overbroad construction. The
 2 applicants’ amendments and arguments clearly distinguished their claimed invention
 3 from integrated circuits that generate either of the supply voltages on-chip. To
 4 overcome the examiner’s rejection based on anticipation by U.S. Patent No.
 5 7,120,161 (“Daga”) (Ex. R), the applicants amended claim 1 of the ’905 Patent to
 6 require that the “first supply voltage [be] received on a first input to the integrated
 7 circuit” and the “second supply voltage [be] received on a second input to the
 8 integrated circuit.”3 (Ex. S at 2-9, 21.) The applicants then argued that the amended
 9 claim was allowable because “Daga’s integrated circuit has only one power supply
10 input to the integrated circuit (ExtVDD, see Fig. 3).” (Id. at 27 (emphasis added).)
11 Based on these amendments and arguments, the USPTO allowed claim 1 to issue.
12          Apple’s construction would impermissibly broaden the claim scope to read on
13 Daga, contrary to the applicants’ claim amendments and representations to the
14 USPTO. Saffran v. Johnson & Johnson, 712 F.3d 549, 559 (Fed. Cir. 2013);
15 Comput. Docking Station Corp. v. Dell, Inc., 519 F.3d 1366, 1373-79 (Fed. Cir.
16 2008). Daga’s Figure 3 shows a system-on-a-chip (“SOC”) using two supply
17 voltages, ExtVDD and RegVDD. (Ex. R at Fig. 3, 3:13-24.) As shown by Figure 3,
18 the first supply voltage ExtVDD 310 is generated outside of the SOC 300, while the
19 second supply voltage RegVDD 330 is generated within the SOC 300 by a voltage
20 regulator 315. (Id.) Under Apple’s construction, an arbitrary line could be drawn
21 around only Daga’s microcontroller 335 and memory 340 to define the boundary of
22 the “integrated circuit.” (Ex. D at ¶ 126.) But Daga’s voltage regulator 315, which
23 generates the second supply voltage (RegVDD), would then be outside the
24 “integrated circuit” boundary—satisfying the claim. (Id.) This is precisely what the
25 applicants told the USPTO Daga did not disclose. (Id.)
26
       3
27         The ’559 Patent’s claim 1 also refers to inputs to the integrated circuit.
28
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                          QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1          B.    “received on a first / second input to the integrated circuit” (’905
                  Patent) and “receiving power from at least one first / second input
 2
                  to the integrated circuit” (’559 Patent)
 3                 “received on a first / second input to the integrated circuit”
 4         Apple’s Construction                      Qualcomm’s Construction
      “provided to the integrated          “generated external to the integrated circuit and
 5
      circuit on a first / second input” connected to the integrated circuit on a first /
 6                                         second input”
 7
        “receiving power from at least one first / second input to the integrated circuit”
 8         Apple’s Construction                     Qualcomm’s Construction
      “provided power from at least    “supplied by a first / second supply voltage
 9
      one first / second input to the  generated external to the integrated circuit and
10    integrated circuit”              connected to the integrated circuit on at least one
                                       first / second input”
11
12          These claim terms are related and raise similar claim scope issues, so they are
13 discussed together. Qualcomm contends that these terms require the two supply
14 voltages to be generated external to the integrated circuit and connected to the
15 integrated circuit on first and second inputs to the integrated circuit. This is required
16 by the applicants’ claim amendments and arguments made to the USPTO to
17 overcome the prior art and secure issuance of the claims.4 See supra § I.A
18 (discussing prosecution history of ’905 Patent claim 1). This is also required by the
19
20      4
          The ’559 Patent does not expressly refer to supply voltages, but the “first
21   voltage domain” and “second voltage domain” require separate first and second
22   supply voltages. The ’559 Patent defines a “domain”: “A signal that is driven to a
     high assertion equal to a given supply voltage may be referred to as in the ‘domain’
23   of that supply voltage or ‘referenced’ to that supply voltage.” (Ex. B at 5:22-25.) In
24   addition, the ’559 Patent states that “a supply voltage may be a voltage provided to a
     circuit to power the circuit.” (Id. at 3:41-44.) A voltage domain that receives power
25   from an input to the integrated circuit, as in the ’559 Patent’s claim 1, is supplied by
26   a supply voltage connected to that input. (Ex. D at ¶¶ 142-143.) The supply voltage
     powers the voltage domain, enabling it to drive signals “to a high assertion equal to
27   [that] supply voltage.” (Ex. B at 5:22–25; see also id. at 7:48-50.)
28
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                        QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 specification and claim language. (Id.) Apple’s unhelpful, tautological definitions
 2 do nothing more than change “received on” to “provided to” and reorder the words
 3 of the ’905 Patent, and just change “receiving” to “provided” for the ’559 Patent.
 4        The applicants’ prosecution history claim amendments and arguments clearly
 5 disavowed any coverage of integrated circuits that do not receive externally-
 6 generated and externally-connected first and second supply voltages. Saffran, 712
 7 F.3d at 559; Comput. Docking, 519 F.3d at 1374-79. Qualcomm is entitled to rely
 8 on the applicants’ statements made during prosecution of the ’905 Patent. Saffran,
 9 712 F.3d at 559; Comput. Docking, 519 F.3d at 1374-75. Apple cannot recapture
10 through claim construction the claim scope the applicants disavowed during
11 prosecution. Comput. Docking, 519 F.3d at 1379. Yet that would happen under
12 Apple’s proposed construction—Daga’s second supply voltage (RegVDD) generated
13 within the SOC would satisfy these limitations. (Ex. D at ¶ 137.) But even without
14 the applicants’ disavowal, the claim language and specification disclose that the first
15 and second supply voltages must be generated and connected external to the
16 “integrated circuit”—as the claim language plainly states. See supra § I.A.
17 Qualcomm’s proposal should therefore be adopted, and Apple’s rejected.
18        C.     “during use” (’905 Patent, ’559 Patent, and ’534 Patent)
19                                     “during use”
                    Apple’s Construction                     Qualcomm’s Construction
20
      plain and ordinary meaning or “while operating”      indefinite
21               1.    The Claim Language
22        The claims of the Campbell Patents use the phrase “during use” many times.
23 In each instance, however, the object of the phrase “during use” is never stated. The
24 specification and prosecution history fail to solve this mystery about the meaning
25 and object of “during use” in each instance it appears. Thus, a person of skill in the
26 art cannot determine the scope of the claims with reasonable certainty, and this
27 phrase and the patent claims are indefinite and invalid. (Ex. D at ¶¶ 156-174);
28
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                       QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 Nautilus, 134 S. Ct. at 2124. Furthermore, Apple’s proposed construction, “while
 2 operating,” does not resolve the question about what is being used (or operating)
 3 “during use” in each instance. (Ex. D at ¶ 173.)
 4         Claim 1 of the ’534 Patent exemplifies this problem. “During use” appears in
 5 three of its limitations: (1) “at least one logic circuit supplied by a first supply
 6 voltage during use”; (2) “at least one memory circuit coupled to the logic circuit
 7 and supplied by a second supply voltage during use”; and (3) “wherein a magnitude
 8 of the first supply voltage is less than a magnitude of the second supply voltage at
 9 least a portion of the time during use.” (Ex. C at claim 1 (emphasis added).)
10 Focusing on the third limitation, its term “during use” lacks any antecedent, and
11 nothing in the claim language specifies the object of the phrase. (Ex. D at ¶ 166.)
12 But the questions is, “during use” of what? “During use” could perhaps refer to use
13 of the earlier logic circuit (see limitation (1)); use of the earlier memory circuit (see
14 limitation (2)); use of both; or some other use of the “integrated circuit” or one of its
15 other components. (Id.) Regardless, there is no clear or definitive answer in the
16 claim, and the specification and the prosecution history also do not provide a
17 definitive answer. (Id. at ¶¶ 168-172.) These different possibilities render claim 1
18 of the ’534 Patent, and its dependent claims, indefinite.
19         An example further illustrates why the phrase “during use” in limitation (3)
20 above renders these claims indefinite. At the time the Campbell Patents were filed,
21 logic circuitry could be powered off, while memory circuitry could be supplied with
22 a minimum voltage sufficient for it to retain data. (Id. at ¶ 165.) Under this
23 scenario, if “during use” refers to use of the logic circuit, then this limitation can be
24 met only if and when the magnitude of the first supply voltage (i.e., logic voltage) is
25 less than the magnitude of the second supply voltage (i.e., memory voltage) during
26 use of the logic circuit—i.e., only when the logic circuit is powered on. But if
27 “during use” instead refers to use of the memory circuit, then this limitation could
28 be met at any time that the memory is retaining data if a person of skill in the art
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                        QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 would consider that to be “use” of the memory circuit, regardless of the state of the
 2 logic circuit.5 (Id.) Thus, what qualifies as “use” and “during use” cannot be
 3 determined, and the limitation is indefinite. And, as already discussed, there is no
 4 way to discern if “during use” in limitation (3) actually refers to the memory circuit,
 5 logic circuit, both circuits, the entire integrated circuit, or something else.
 6         The phrase “during use” similarly renders the asserted claims of the ’905 and
 7 ’559 Patents indefinite. For example, claim 1 of the ’905 Patent requires that “the
 8 memory array comprises a plurality of memory cells that are continuously supplied
 9 by the second supply voltage during use.” An integrated circuit that can power off
10 its memory circuitry while its logic circuitry is in use might continuously supply the
11 memory cells with the second supply voltage during use of the memory cells, but it
12 would not continuously supply the memory cells with the second supply voltage
13 during use of the “integrated circuit” or “logic circuit.” (Id. at ¶¶ 158-160.) Thus,
14 the claim scope turns on what is the object of “during use.” With respect to the ’559
15 Patent, an integrated circuit that powers memory in order to retain stored data while
16 the remainder of the integrated circuit does not receive power might have a “first
17 voltage domain receiving power from at least one first input to the integrated circuit
18 during use” of the “logic circuit” but lack a “first voltage domain receiving power
19 from at least one first input to the integrated circuit during use” of the “integrated
20 circuit.” (Id. at ¶ 162.) These are only a few examples of the indefiniteness caused
21 by the “during use” terms; there are many more. (Id. at ¶¶ 156-174.)
22               2.     The Specification and Prosecution History
23         The specification mentions “during use” four times. (Ex. A at 2:6-9, 2:14-26,
24
       5
25      If such a device were to fall within the scope of claim 1 of the ’534 Patent, it
   would raise additional validity questions, because this is not the “integrated circuit”
26 that the patentees regarded as their invention. Allen Eng’g Corp. v. Bartell Indus.,
27 Inc., 299 F.3d 1336, 1349 (Fed. Cir. 2002).
28
                                            -8-            Case No. 3:17-cv-01375-DMS-MDD
                        QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 3:22-26.) None further clarifies the object of “during use” in each instance of the
 2 claims or cures their indefiniteness. (Ex. D at ¶ 170.)
 3         Neither does the prosecution history. (Id. at ¶ 171.) Apple argued to the
 4 USPTO that “Daga teaches a non-volatile memory such as an EEPROM or Flash
 5 memory” and that “[i]n such memories, the memory array does not include memory
 6 cells that are continuously supplied with a supply voltage during use.” (Ex. S at 26.)
 7 This refers to the second instance of “during use” in claim 1 of the ’905 Patent
 8 (“wherein the memory array comprises a plurality of memory cells that are
 9 continuously supplied by the second supply voltage during use”). But these
10 arguments do not define or narrow the object of “during use” in that limitation,
11 because the argument is valid regardless of whether “during use” refers to the
12 “integrated circuit,” “memory circuit,” or “memory cells.” (Ex. D at ¶ 171.) The
13 applicants also argued that Daga “fail[s] to teach or suggest ‘the memory circuit
14 comprises at least one memory array, and wherein the memory array comprises a
15 plurality of memory cells that are continuously supplied by the second supply
16 voltage during use” because Daga’s “word lines (and bit lines) are only active
17 during reads and writes.” (Ex. S at 27.) This too offers no clarity; the applicants
18 could have meant that the memory cells are not continuously supplied by the second
19 supply voltage during use of the “integrated circuit,” “memory circuit,” “memory
20 cells,” “logic circuit,” or any other circuit or circuit element. (Ex. D at ¶ 172.)
21         In the end, regardless of whether “during use” is not defined or is defined to
22 mean “while operating,” as Apple proposes, a person of skill in the art still would be
23 unable to determine with reasonable certainty the object of what must be in use and
24 operating “during use,” as the claims recite. (Id. at ¶ 173.) The asserted claims of
25 the Campbell Patents are therefore indefinite and invalid. (Id. at ¶ 174.)
26 II.     The Youngs Patents
27         The Youngs Patents describe “techniques for conserving power usage in
28 computer systems.” (Ex. E at 1:19-20.) Both patents, which share a specification,
                                            -9-            Case No. 3:17-cv-01375-DMS-MDD
                        QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 purport to teach reducing power consumption in processors “by reducing voltage
 2 supplied to an instruction-processing portion of the processor, while maintaining
 3 voltage to other portions of the processor.” (Id. at 1:22-25.)
 4         A.    “core” and “area” (’453 Patent)
 5                                            “core”
                 Apple’s Construction                      Qualcomm’s Construction
 6
      plain and ordinary meaning or “a logical or       Indefinite
 7    physical instruction processing mechanism”
 8
                                               “area”
 9               Apple’s Construction                      Qualcomm’s Construction
10    “a portion of the processor excluding a core”     Indefinite

11         In the context of the ’453 Patent, a person of skill in the art is unable to
12 determine with reasonable certainty which components of the “instruction
13 processing system” of claim 1 fall within the claimed “core” and which fall within
14 the claimed “area.” Instead, by using these terms to define the claimed “instruction
15 processing system,” the patentee presents the public with a moving target, and
16 neither the intrinsic evidence nor Apple’s construction resolves the uncertainty.
17               1.     The Scope of Claim 1 of the ’453 Patent Is Uncertain
18         The terms “core” and “area” have no generally accepted meaning in the art
19 such that a skilled artisan would understand the scope of claim 1 based on these
20 terms alone. (Ex. G at ¶ 26.) Nor does the intrinsic evidence provide a clear one.
21 Claim 1 tells the skilled artisan only that the “core” has “instruction-processing
22 circuitry” and receives a “core voltage” while the “area” is “coupled to the core” and
23 receives an “area voltage.” (Ex. E at claim 1.) But claim 1 is not clear about what
24 components make up the “core” or what components receive the core voltage.
25 Likewise, claim 1 is silent regarding what components comprise the “area” and what
26 components receive the area voltage. Thus, the terms “core” and “area” impart no
27 certainty concerning the scope of claim 1.
28
                                           -10-            Case No. 3:17-cv-01375-DMS-MDD
                        QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1               2.    The Intrinsic Record Makes Claim 1 Less Clear
 2        Rather than clarify the scope of claim 1, the intrinsic record compounds the
 3 uncertainty over what each of the claimed “core” and “area” encompasses. Indeed,
 4 the specification does not even use “core” and “area” as standalone terms prior to
 5 their appearance in claim 1. Instead, the specification repeatedly uses the phrases
 6 “core power area” and “non-core power area” to define two mutually exclusive parts
 7 of the claimed instruction processing system. (Id. at 3:8-9; 3:30-31 (“[n]on-core
 8 power area 124 comprises the remaining portion of processor 102…”) (emphasis
 9 added); Figs. 1A and 1B.) Even assuming the terms “core” and “area” are co-
10 extensive with the phrases “core power area” and “non-core power area,” however,
11 the claim language is no more certain to a skilled artisan reading the ’453 Patent.
12 (Ex. G at ¶¶ 27-38.) That is because the specification lists certain components as
13 falling within the “core power area” some of the time, and lists the same
14 components falling within the “non-core power area” at other times, without
15 providing any rationale for how to configure the components to practice (or avoid)
16 the claims. (Ex. E at 3:9-15; 3:30-34; 4:34-37; Figs. 1A and 1B.)
17        For example, the specification informs a person of skill in the art that an L1
18 cache is “possibly” in the claimed core. (Id. at 3:12-14.) In the very next sentence,
19 however, the specification tells the skilled artisan “L1 caches…can alternatively be
20 located in [the] non-core power area.” (Id. at 3:14-15.) It is thus indeterminable
21 whether an L1 cache in the instruction-processing system of claim 1 is in the
22 claimed “core” or the claimed “area.” (Ex. G at ¶¶ 30-32.)
23        Similarly, the specification tells a person of skill in the art that L2 caches,
24 cache tags, and cache snoop circuitry are located in the “non-core power area” (Ex.
25 E at 3:30-34)—except when they are not. Once again, a subsequent description
26 advises the skilled artisan that, in another embodiment, an L2 cache, cache tags, and
27 cache snoop circuitry “are included in the core power area... rather than in [the] non-
28 core power area.” (Id. at 4:32-37.) Figures 1A and 1B reflect this ambiguity. (Id. at
                                          -11-            Case No. 3:17-cv-01375-DMS-MDD
                       QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 Figs. 1A and 1B.) The ’453 Patent’s arbitrary partitioning of components in the
 2 intrinsic record prevents a person of skill in the art from determining the scope of
 3 “core” or the “area” in the claims, thus rendering claim 1 indefinite and invalid.
 4 Capital Security Systems, Inc. v. NCR Corporation, 2018 WL 1181197 at *6 (Fed.
 5 Cir. 2018).
 6        In short, claim 1 of the ’453 Patent presents the skilled artisan with a moving
 7 target concerning whether components in the instruction-processing system such as
 8 L1 caches, L2 caches, cache tags, and cache snoop circuitry are part of the “core”
 9 (and, therefore, provided with the core voltage) or part of the “area” (and, therefore,
10 provided with the area voltage). As a result, the claims provide no public notice of
11 what is covered by the ʼ453 Patent. Section 112 does not permit this lack of
12 objective boundaries. Interval Licensing LLC v AOL, Inc., 766 F.3d 1364, 1371
13 (Fed. Cir. 2014); see also Nautilus, 134 S. Ct. at 2130 & n. 8 (indicating
14 indefiniteness problem arises if claim language “might mean several different things
15 and ‘no informed and confident choice is available among the contending
16 definitions’”).
17               3.    Apple’s Constructions Do Not Resolve the Problem
18        Construing “core” to mean “a logical or physical instruction processing
19 mechanism” and “area” to mean “a portion of the processor excluding a core”—as
20 Apple proposes—does not clarify the scope of the claims. Apple’s constructions
21 merely leave skilled artisans wondering which components fall within a “logical or
22 physical instruction processing mechanism” and which do not, just as they are left to
23 wonder what falls within the “core” and “area.” (Ex. G at ¶¶ 39-40.)
24
25
26
27
28
                                          -12-            Case No. 3:17-cv-01375-DMS-MDD
                       QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
1          B.     “wherein in a normal operation mode . . . the core voltage is a first
                  value that is sufficient to maintain the state information of the
2
                  instruction-processing circuitry” [Apple] or “sufficient to maintain
3                 the state information of the instruction-processing circuitry”
                  [Qualcomm] (’453 Patent)
4
                Apple’s Construction                      Qualcomm’s Construction
5
      Apple’s Term: plain and ordinary             Apple’s Term: not the correct term for
6     meaning or “wherein in a normal              construction because it covers only one
      operation mode: . . . the core voltage is    of two uses of disputed term in Claim 1
7
      at least a value that maintains the state    of the ’453 Patent
8     information of the instruction-
      processing circuitry.”                       Qualcomm’s Term: “a minimum
9
                                                   value that maintains state information of
10    Qualcomm’s Term: “at least a value           the instruction-processing circuitry,
      that maintains the state information of      which minimum value is not sufficient
11
      the instruction-processing circuitry”        to allow processing to continue”
12
           Claim 1 of the ’453 Patent specifies that the core voltage needs to have a
13
     value “sufficient to maintain the state information of the instruction-processing
14
     circuitry” in the “normal operation mode” and in the “first power-saving mode.”
15
     Qualcomm maintains that this term has the same meaning in both instances where it
16
     is used in claim 1 and should be construed consistent with the intrinsic evidence.
17
     See Rexnord Corp. v. Laitram Corp., 274 F.3d 1336, 1342 (Fed. Cir. 2001) (“a
18
     claim term should be construed consistently with its appearance in other places in
19
     the same claim or in other claims of the same patent”). Apple, on the other hand,
20
     ignores the intrinsic evidence and instead proposes construing the term so as to read
21
     this limitation out of the “normal operation mode.” Because Qualcomm’s
22
     construction finds explicit support in the intrinsic evidence, while Apple’s proposed
23
     construction ignores the meaning the applicant ascribed to the phrase and violates
24
     claim construction law, Qualcomm’s construction should be adopted.
25
           Qualcomm’s construction tracks the applicant’s explanation of the disputed
26
     phrase in the specification and the prosecution history. In the specification, the
27
     applicant tells the skilled artisan “the voltage in core power 134 is reduced to the
28
                                           -13-            Case No. 3:17-cv-01375-DMS-MDD
                        QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 minimum value that will maintain state information within core power area 126, but
 2 this voltage is not sufficient to allow processing to continue.” (Ex. E at 4:18-21.)
 3 Moreover, in the prosecution history, the applicant explained in two passages that
 4 “the core voltage is reduced to a minimum voltage enough to maintain the processor
 5 state in a processor register, but not high enough to operate the instruction-
 6 processing circuitry” and “in one of the power-saving mode [sic] the core power
 7 voltage is reduced such that it is sufficiently high to maintain the processor state and
 8 sufficiently low to prevent the instruction-processing circuitry from processing
 9 instructions.” (Ex. H at 9-10.) These explanations of the invention clarify the
10 meaning of the disputed term and support Qualcomm’s construction. Fenner
11 Investments, Ltd. v. Cellco Partnership, 778 F.3d 1320, 1323 (Fed. Cir 2015) (“Any
12 explanation, elaboration, or qualification presented by the inventor during patent
13 examination is relevant, for the role of claim construction is to capture the scope of
14 the invention that is disclosed, described, and patented.”).
15         The skilled artisan would understand from the intrinsic record that the
16 disputed phrase defines a minimum value for the core voltage, as Qualcomm
17 contends. (Ex. G at ¶¶ 43-52.) Apple seemingly recognizes that “sufficient” defines
18 a minimum value for the core voltage, but proposes (in an improper attempt to
19 rewrite its poorly drafted claims) that the phrase also includes the range of voltages
20 above this minimum value that is more than sufficient to maintain the state
21 information of the instruction-processing circuitry. Apple’s construction ignores the
22 intrinsic record. In effect, Apple wants to read the core voltage limitation of having
23 a value “sufficient to maintain the state information of the instruction-processing
24 circuitry”—as the applicant explained it—out of the “normal operation mode.”
25         C.    “power area” (’940 Patent)
26                                        “power area”
               Apple’s Construction                    Qualcomm’s Construction
27
      plain and ordinary meaning or              “arrangement of elements connected to
28    “grouping related to receiving power”      the same power supply”
                                           -14-            Case No. 3:17-cv-01375-DMS-MDD
                        QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1         The parties’ dispute over the claim term “power area” in the ’940 Patent
 2 appears to be fairly narrow, focusing on whether the term requires that each of the
 3 elements making up a particular “power area” be connected to the same power
 4 supply/source. Qualcomm’s construction finds support in the intrinsic record and
 5 should be adopted. The ’940 Patent breaks the processor into two distinct sections –
 6 a “non-core power area” and a “core power area.” It further explains that separate
 7 corresponding power sources (i.e., “non-core power” and “core power”) provide a
 8 voltage to each of the circuit elements within each respective section. Indeed, the
 9 ʼ940 Patent specification expressly provides that the “non-core power area 124
10 receives non-core power 136 and core power area 126 receives core power 134.”
11 (Ex. F at 3:59-60.) Likewise, Figures 1A and 1B show a single power supply
12 independently powering each of these power areas. (Id. at Figs. 1A and 1B; Ex. G
13 at ¶¶ 53-55; Ex. P at 141:13-19, 217:7-21.) The prosecution history confirms this
14 understanding. To overcome the prior art, the applicant partitioned the collection of
15 elements in each power area on the basis of the power supply to which they were
16 connected. (Ex. I at 7-8; see also Ex. G at ¶¶ 56-57.) Apple’s construction, on the
17 other hand, ignores the intrinsic evidence.
18         D.    “real-time clock”(’940 Patent)
19                                    “real time clock”
               Apple’s Construction                   Qualcomm’s Construction
20
      plain and ordinary meaning or “provider “circuit that provides time-of-day
21    of time-of-day services”                  services to the processor”
22         Qualcomm’s proposed construction for “real-time clock” is lifted from the
23 specification. (Ex. F at 3:36-37.) Apple’s issue with Qualcomm’s proposed
24 construction seems to be that the “real-time clock” circuit in the claimed processor
25 also might include firmware or software, in addition to the real-time clock circuitry.
26 (Ex. P at 225:4-17.) But there can be no legitimate dispute that the “non-core power
27 area” must include at a least a circuit that provides time of day services to the
28
                                           -15-            Case No. 3:17-cv-01375-DMS-MDD
                        QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 processor because the non-core power 136 must be supplied to a circuit element, not
 2 firmware or software. Accordingly, Qualcomm’s construction should be adopted.
 3 III.    The de Cesare Patents
 4         The de Cesare Patents6 generally relate to power management of multiple
 5 components on, for example, a System on Chip (“SoC”). (Ex. J at 1:7-10.)
 6 According to the de Cesare Patents, the management of power consumption in
 7 multi-component systems having one or more processors is important in mobile
 8 applications, such as laptops or mobile phones that are often powered by batteries.
 9 (Id. at 1:11-24.) In the prior art, it was known that power consumption could be
10 reduced using certain techniques, including putting an idle processor into a “sleep
11 state” in order to conserve power. (Id. at 1:33-47; see also id. at 1:25-32 (discussing
12 “clock gating” and “power gating” techniques to reduce power consumption of idle
13 circuitry).) Other components, whose performance are related to the processor, may
14 also be brought to lower or higher performance states accordingly. (Id. at 1:33-47)
15 The processor must be “awakened” at a later time if it is to process instructions.
16 (Id.)
17         In the de Cesare Patents, when a processor is awake and operative, its
18 performance state may depend upon certain performance characteristics. For
19 example, a processor depends upon a so-called “clock” signal of rising and falling
20 voltage to process instructions. (Id. at 4:35-40; Ex. D at ¶ 47.) If the clock
21 frequency is increased, then the processor will process instructions at a higher rate,
22 resulting in higher performance. This performance increase comes at the cost of
23 increased power consumption, however. In addition to the clock frequency, the de
24
25
26     6
       The de Cesare Patents share the same written description. This brief cites the
27 ’812 Patent, but the same disclosure is found in the ’216 and ’196 Patents.
28
                                           -16-            Case No. 3:17-cv-01375-DMS-MDD
                        QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 Cesare patents identify other examples of characteristics that may impact a
 2 processor’s (or other components’) performance. (Ex. J at 4:40-52; Ex. D at ¶ 47.)
 3        The de Cesare Patents disclose that power management is performed by a
 4 “power management unit” (PMU 28, annotated in yellow), which establishes the
 5 “performance states” of the components within certain “performance domains”
 6 (14A, 14B, 14C, 14D, 14E, and 14F, each annotated in blue) as shown by Figure 1
 7 below. (Id. at Fig. 1, 3:63-4:13.) “A performance domain may be one or more
 8 components that may be controlled by the PMU 28 as a unit for performance
 9 configuration purposes.” (Id. at 4:14-16; see also id. at 3:32-47).) The PMU sends
10 control signals to the clock/voltage control 32 (annotated in green), which
11 communicates to the power supply 12 the clock frequency and voltage to be
12 supplied to the components within each performance domain. (Id. at 3:47-62.)
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26        According to the de Cesare Patents, one significant drawback to the prior art
27 is that “[t]he sleep/wake transitions of processors and other components are changed
28 under software control.” (Id. at 1:48-49.) But because such software control was
                                          -17-            Case No. 3:17-cv-01375-DMS-MDD
                       QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 slow and inefficient, it “impact[ed] the power conserved and the performance of the
 2 [software] application,” and limited how often the processors could be put to sleep.
 3 (Id. at 1:49-55.) The de Cesare Patents supposedly improved on the prior art by
 4 performing sleep/wake transitions “in hardware,” and “automatically,” as opposed
 5 to under software control. (See e.g., Id. at 2:16-30; Ex. D at ¶¶ 42-43.)
 6          For claim construction, claim 8 of the ’812 Patent is representative:
 7          8. a plurality of components, each component included in one of a
            plurality of performance domains; and
 8
            a power management unit configured to establish a performance
 9          state in each of the plurality of performance domains, and wherein
10          the power management unit is configured to transition at least a first
            performance domain of the plurality of performance domains to a
11          first performance state programmed into the power management unit
12          responsive to a processor transitioning to a wakeup state, wherein the
            processor is transitioning from a sleep state, and wherein the wakeup
13          state is different from a prior performance state at which the
14          processor was operating prior to entering the sleep state.
15 Apple also asserts claims 2 and 6 of the ’216 Patent and claims 2 and 3 of the ’196
16 Patent.7
17          A.     “performance domain” (’812 Patent, ’216 Patent, and ’196 Patent)
18                                   “performance domain”
19             Apple’s Construction                    Qualcomm’s Construction
      “one or more components that may be       “one or more components that may be
20    controlled as a unit or independently for controlled by the power management
21    performance configuration purposes”       unit as a unit for performance
                                                configuration purposes”
22
            The parties agree that a “performance domain” is one or more components
23
     that may be controlled “as a unit” for performance configuration purposes. But
24
25
26      7
        The term “prior performance state at which the processor was operating prior to
27 entering the sleep state” above is specific to claim 8 of the ’812 Patent.
28
                                            -18-            Case No. 3:17-cv-01375-DMS-MDD
                         QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 Apple’s proposed construction (i) improperly suggests that the component(s) within
 2 an individual performance domain can also be controlled “independently”—they
 3 cannot—and (ii) fails to include in its proposed construction that this control is
 4 performed by the power management unit.
 5        Qualcomm’s construction comes directly from the intrinsic evidence. The
 6 claim language supports Qualcomm’s argument that components of a performance
 7 domain are controlled as a unit. Each asserted claim recites a “plurality of
 8 components” that are included in a “plurality of performance domains.” (Ex. J at
 9 14:9-10; Ex. K at 12:64-65; Ex. L at 12:64-65.) The claims then recite that the
10 PMU acts to “establish a performance state” in each performance domain as a
11 whole; the claim does not recite the PMU’s establishing a performance state of an
12 individual component of a performance domain apart from the state of the domain’s
13 other components. (Ex. J at 14:11-13; Ex. K at 13:1-8; Ex. L at 13:5-10.)
14        The specification further states that “[a] performance domain may be one or
15 more components that may be controlled by the PMU 28 as a unit for performance
16 configuration purposes.” (Ex. J at 4:14-16 (emphasis added).) The specification
17 continues by explaining that the PMU controls each performance domain as a
18 whole, stating, “[t]hat is, the PMU 28 may be configured to establish a
19 corresponding performance state for each performance domain … .” (Id. at 4:16-
20 18 (emphasis added).) “The components that form a performance domain may
21 transition together from one performance state to another performance state.” (Id.
22 at 4:20-21 (emphasis added).)
23        Apple’s argument that the individual components of the performance domain
24 may be controlled “independently” is based on a misunderstanding of the
25 specification. The specification contrasts the unit-based control of components of a
26 single performance domain with the independent control of “components in
27 different performance domains,” stating, “[o]n the other hand, components in
28 different performance domains may be independent of each other … and may have
                                          -19-            Case No. 3:17-cv-01375-DMS-MDD
                       QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 independently-determined performance states.” (Id. at 4:22-27.) This passage
 2 clearly refers to components that are in different performance domains; not that
 3 components within the same performance domain can be controlled as a unit “or
 4 independently” as Apple and its expert seem to suggest. (Ex. M at ¶ 27.) The de
 5 Cesare Patents say no such thing.
 6        Apple’s construction also fails to mention that it is the PMU’s unitary control
 7 of one or more components that defines those components as being a discrete
 8 performance domain. The asserted claims recite a “power management unit
 9 configured to establish a performance state in each of the plurality of performance
10 domains.” (See, e.g., Ex. J at 14:11-13.) This is identical to the specification, which
11 repeatedly discloses that the PMU establishes the performance state of a
12 performance domain. (See, e.g. Ex. J at 4:16-20, 5:50-52.)
13        B.     “power management unit” (’812 Patent, ’216 Patent, and ’196
                 Patent)
14
                                   “power management unit”
15
              Apple’s Construction                  Qualcomm’s Construction
16    “hardware and/or software that        “a circuit that manages power consumption
      causes a performance domain to        by automatically transitioning in hardware
17
      transition to a performance state”    the performance states of a plurality of
18                                          performance domains”
19        The parties dispute three aspects of the definition of “power management
20 unit”: (1) whether the power management unit must be implemented in hardware, or
21 can be “hardware and/or software;” (2) whether the power management unit may
22 transition performance states of a single performance domain, or whether it must
23 transition performance states of a “plurality of performance domains”; and (3)
24 whether these transitions must take place “automatically.”
25        First, the power management unit must be implemented in hardware, and
26 cannot be purely software or a combination of hardware and software. The title of
27 the de Cesare Patents states, “[h]ardware automatic performance state transitions in
28 system on processor sleep and wake events,” and the first sentence of the abstract
                                          -20-            Case No. 3:17-cv-01375-DMS-MDD
                       QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 describes the power management unit (i.e., PMU) as “automatically transition[ing]
 2 (in hardware) the performance states of one or more performance domains in a
 3 system.” (Ex. J at [54] and [57] (emphasis added).) As already discussed, the
 4 specification criticizes the many shortfalls of transitioning performance states
 5 “under software control.” (Id. at 1:48-58.) The specification then states that the
 6 advantage of the supposedly-innovative PMU is controlling performance state
 7 transitions “in hardware,” enabling more rapid state transitions and increasing
 8 efficiency—distinguishing this PMU from a purely software-controlled
 9 implementation. (Id. at 1:62-65, 2:16-30; Ex. D at ¶¶ 42-45, 49.) The specification
10 further describes the PMU as being part of an “integrated circuit,” i.e., hardware.
11 (See Ex. J. at Fig. 1 (PMU 28), 3:47-50.) Apple’s construction of PMU would
12 impermissibly broaden the asserted claims to read on the specification’s admitted
13 software-based prior art, and suffer from the very same deficiencies that the
14 applicants argued existed with that prior art.
15        Apple’s software-only construction also contradicts statements it made to the
16 USPTO during prosecution of the ’812 Patent. Comput. Docking, 519 F.3d at 1374
17 (“Statements made during prosecution may also affect the scope of the claims.”).
18 During prosecution, the USPTO rejected then-pending claim 17 (which would later
19 issue as claim 10) as unpatentable subject matter because the entire claimed method
20 was “directed to software only.” (Ex. N at 2-3.) In response, Apple pointed to the
21 power management unit as an “express recitation of hardware in, e.g., claim 17”—
22 thereby stating that the PMU must be hardware. (Ex. O at 14; see also Fenner Invs.,
23 Ltd., 778 F.3d at 1323 (“Any explanation, elaboration, or qualification presented by
24 the inventor during patent examination is relevant.”).)
25        Indeed, Apple’s expert Dr. Mooney has conceded that the PMU cannot be
26 software only as Apple proposes, testifying, “[i]t is my professional opinion that a
27 power management unit cannot only be software because the eventual clock
28 signaling, gate signaling to the components that are being controlled would involve
                                          -21-            Case No. 3:17-cv-01375-DMS-MDD
                       QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 boolean logic hardware.” (Ex. Q at 61:9-17; see also id. at 61:18-62:9 (additional
 2 Mooney testimony that a PMU must have and can be exclusively hardware).)
 3         Apple bases its mistaken construction on the specification’s statement that the
 4 PMU can be “programmable” by other software running on the SoC. (Ex. M at
 5 ¶ 33; Ex. J at 5:49-52.) But Apple conflates being able to configure the PMU using
 6 other software that is not part of the PMU (i.e., the PMU driver) with the PMU
 7 itself. Id. A programmable hardware solution is still hardware—even if it is
 8 “configured” by other software to “transition (in hardware) the performance states
 9 of one or more performance domains in a system.” (Ex. D at ¶ 68; Ex. J at 1:62-65.)
10 Also, this “programming” is done by changing the data values stored within the
11 PMU’s “performance configuration registers,” but stored data values are not
12 “software.” (Ex. D at ¶ 71; Ex. J at Fig. 2, 7:38-50.). The asserted claims only
13 recite the PMU, not any software that might be used to configure these registers and
14 their values. Ventana Med. Sys., Inc. v. Biogenex Labs., Inc., 473 F.3d 1173, 1181
15 (Fed. Cir. 2006) (“When the claim addresses only some of the features disclosed in
16 the specification, it is improper to limit the claim to other, unclaimed features.”).
17         Second, the PMU does not merely establish a performance state of a
18 performance domain. Instead, a plurality of performance domains are transitioned.
19 This is recited by the claim language. For example, claim 8 recites, among other
20 things, “a plurality of performance domains.” (Ex. J at 14:9-10.) The claim then
21 recites that the PMU “is configured to establish a performance state in each of the
22 plurality of performance domains.” (Id. at 14:11-13.) Figure 1 similarly discloses a
23 plurality of performance domains configured by a single PMU. (Id. at Fig. 1.)
24 Figure 2 further discloses that the PMU includes a plurality of configuration
25 registers, one for each performance domain. (Id. at Fig. 2, 2:48-49; Ex. D at ¶ 71.)
26 The PMU establishes the performance state in each performance domain controlled
27 by the PMU. (Ex. J at Fig. 2, 2:48-49.)
28
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                        QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1        Third, Apple mistakenly omits that the PMU manages power consumption by
 2 “automatically transitioning” the performance states of a plurality of performance
 3 domains. The same passages within the de Cesare Patents explaining that the PMU
 4 is a hardware (not software) power management solution further explain that any
 5 performance state transition by the PMU is performed automatically. (Ex. J at [54],
 6 [57], 1:62-65, 3:65-4:7, 8:13-17; Ex. D at ¶ 69.)
 7        C.     “establish a . . . performance state” (’812 Patent, ’216 Patent, and
                 ’196 Patent)
 8
                                “establish a … performance state”
 9
                 Apple’s Construction                  Qualcomm’s Construction
10    plain and ordinary meaning or “set the     “to cause the performance domain to
      . . . one or more performance              apply the performance state to that
11
      characteristics to the appropriate values domain”
12    for the performance state”
13        A person of skill in the art would understand that “establish a … performance
14 state” in the context of the intrinsic evidence requires the PMU to cause the
15 performance state (and its performance characteristic values) to actually be applied
16 in a performance domain by the domain’s components. (Ex. D at ¶¶ 75, 77; Ex. T
17 at 486 (defining “establish” as “to cause to be or happen, bring about.”).) The
18 specification describes that performance state transitions “occur in the performance
19 domains,” including by communicating the new settings to control units (e.g.,
20 clock/voltage control unit 32) that will cause the new performance states to occur in
21 the performance domains. (Ex. J at 5:44-47, 5:59-6:11 (emphasis added); Ex. D at
22 ¶¶ 75, 77.) Further, Figure 3 discloses that the PMU not only loads the sleep or
23 wake state values for each performance domain (steps 42 and 50), but that each
24 performance domain will also “Transition to New Performance States” (steps 44 and
25 52). (Ex. J at Fig. 3, 9:25-29, 9:45-59, 10:17-26.)
26        Apple argues that there is no need to define this term. Yet Apple’s proposed
27 construction highlights that there is no clear, plain and ordinary meaning of this
28 term, and accordingly, the term must be construed. O2 Micro Int'l Ltd. v. Beyond
                                          -23-            Case No. 3:17-cv-01375-DMS-MDD
                       QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 Innovation Tech. Co., 521 F.3d 1351, 1361 (Fed. Cir. 2008). As explained above, it
 2 is not enough for the PMU to only “set” the performance state values, as Apple
 3 proposes. The PMU must cause those values to actually be applied by the
 4 components of the performance domain, and the components must then transition to
 5 the required performance states.
 6         Indeed, Apple’s expert Dr. Mooney testified that more is required than the
 7 PMU’s merely “setting” the performance state values. Instead, Dr. Mooney testified
 8 that “establishing” includes a second step in which the “[performance state] values
 9 are established or applied or set there is a finishing step where they’re all in effect.”
10 (Ex. Q at 139:7-14; see also id. at 138:13-144:13 (testifying about the meaning of
11 “establish a … performance state” including that “it also includes that those values
12 have been affected or implemented or have changed in the chip”).)
13         Apple’s construction should also be rejected as introducing the vague words
14 “appropriate values,” which is not found in the intrinsic evidence. (Ex. D at ¶ 78.)
15 There is no guidance from Apple about what these words supposedly mean in the
16 context of “establish[ing] a performance state” in each performance domain.
17         D.    “a prior performance state at which the processor was operating
                 prior to entering the sleep state” (’812 Patent)
18
       “a prior performance state at which the processor was operating prior to entering
19                                         the sleep state”
20            Apple’s Construction                        Qualcomm’s Construction
      “the performance state at which the         plain and ordinary meaning
21
      processor was last operating before
22    the transition to the sleep state began”
23         This claim term appears only in claim 8 of the ’812 Patent. Apple’s proposal
24 erroneously rewrites this claim term to add an additional limitation. The claim
25 language recites “a prior performance state at which the processor was operating
26 prior to entering the sleep state.” The meaning of this term is clear and needs no
27 further definition. The term refers to “a performance state” (or states) at which the
28 processor “was operating” some time before the processor “enter[ed] the sleep
                                           -24-            Case No. 3:17-cv-01375-DMS-MDD
                        QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
 1 state.” This is consistent with the specification, which explains that the post-sleep
 2 performance state of a processor or other components can differ from their pre-sleep
 3 performance state or states. (Ex. J at 8:13-23; Ex. D at ¶¶ 84-85.)
 4         Apple impermissibly re-writes and narrows the words “a prior performance
 5 state” to be “the performance state at which the processor was last operating before
 6 the transition to the sleep state began”—i.e., only the last, pre-sleep performance
 7 state of the processor. Apple’s rewrite must be rejected for several reasons. First, it
 8 is not what the claim says, and it is legal error to rewrite claims. See K-2 Corp. v.
 9 Salomon S.A., 191 F.3d 1356, 1364 (Fed. Cir. 1999) (“Courts do not rewrite claims;
10 instead, we give effect to the terms chosen by the patentee.”) Second, it is well
11 accepted in claim construction that the article “a” refers to “one or a more”—here,
12 one or more of a plurality of prior performance states—not merely the last pre-sleep
13 performance state of the processor. See, e.g., Baldwin Graphic Sys., Inc. v. Siebert,
14 Inc., 512 F.3d 1338, 1342–43 (Fed. Cir. 2008) (“That ‘a’ or ‘an’ can mean ‘one or
15 more’ is best described as a rule, rather than merely as a presumption or even a
16 convention.”). Third, it introduces additional problems of how to identify what is
17 the processor’s “last operating” pre-sleep performance state under Apple’s
18 definition; the ’812 Patent provides little guidance about this issue. Fourth, there is
19 no need for any alternative construction or definition, because the claim as written is
20 already clear. Phillips, 415 F.3d at 1314 (“In some cases, the ordinary meaning of
21 claim language as understood by a person of skill in the art may be readily apparent
22 even to lay judges, and claim construction in such cases involves little more than the
23 application of the widely accepted meaning of commonly understood words.”). For
24 all of these reasons, Apple’s proposed rewrite should be rejected.
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                        QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
1 Dated: August 8, 2018          Respectfully submitted,
2
                                 By: s/ Kelly V. O’Donnell
3                                      Kelly V. O’Donnell
                                 JONES DAY
4
                                 Karen P. Hewitt (SBN 145309)
5                                kphewitt@jonesday.com
                                 Randall E. Kay (SBN 149369)
6
                                 rekay@jonesday.com
7                                John D. Kinton (SBN 203250)
                                 jkinton@jonesday.com
8
                                 Kelly V. O’Donnell (SBN 257266)
9                                kodonnell@jonesday.com
10                               4655 Executive Drive, Suite 1500
                                 San Diego, California 92121
11                               Telephone: (858) 314-1200
12                               Facsimile: (858) 345-3178

13                               William E. Devitt (pro hac vice)
14                               (Ill. Bar No. 6229133)
                                 wdevitt@jonesday.com
15                               John M. Michalik (pro hac vice)
16                               (Ill. Bar No. 6280622)
                                 jmichalik@jonesday.com
17                               77 West Wacker Drive, 35th Floor
18                               Chicago, Illinois 60601
                                 Telephone: (312) 269-4240
19
20                               Keith B. Davis (pro hac vice)
                                 (TX Bar No. 24037895)
21                               kbdavis@jonesday.com
22                               2727 North Harwood Street
                                 Dallas, Texas 75201
23                               Telephone: (214) 969-4528
24                               Facsimile: (214) 969-5100

25                               QUINN EMANUEL URQUHART &
26                               SULLIVAN, LLP
                                 David A. Nelson (pro hac vice)
27                               (Ill. Bar No. 6209623)
28                               davenelson@quinnemanuel.com
                                      -26-            Case No. 3:17-cv-01375-DMS-MDD
                   QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
1                  Stephen Swedlow (pro hac vice)
                   (Ill. Bar No. 6234550)
2
                   stephenswedlow@quinnemanuel.com
3                  500 West Madison St., Suite 2450
                   Chicago, Illinois 60661
4
                   Telephone: (312) 705-7400
5                  Facsimile: (312) 705-7401
6
                   Alexander Rudis (pro hac vice)
7                  (N.Y. Bar No. 4232591)
                   alexanderrudis@quinnemanuel.com
8
                   51 Madison Ave., 22nd Floor
9                  New York, New York 10010
10                 Telephone: (212) 849-7000
                   Facsimile: (212) 849-7100
11
12                 Sean S. Pak (SBN 219032)
                   seanpak@quinnemanuel.com
13                 50 California St., 22nd Floor
14                 San Francisco, California 94111
                   Telephone: (415) 875-6600
15                 Facsimile: (415) 875-6700
16
                   CRAVATH, SWAINE & MOORE LLP
17                 Evan R. Chesler (pro hac vice)
18                 (N.Y. Bar No. 1475722)
                   echesler@cravath.com
19                 Keith R. Hummel (pro hac vice)
20                 (N.Y. Bar No. 2430668)
                   khummel@cravath.com
21                 Richard J. Stark (pro hac vice)
22                 (N.Y. Bar No. 2472603)
                   rstark@cravath.com
23                 Gary A. Bornstein (pro hac vice)
24                 (N.Y. Bar No. 2916815)
                   gbornstein@cravath.com
25                 J. Wesley Earnhardt (pro hac vice)
26                 (N.Y. Bar No. 4331609)
                   wearnhardt@cravath.com
27                 Yonatan Even (pro hac vice)
28                 (N.Y. Bar No. 4339651)
                        -27-            Case No. 3:17-cv-01375-DMS-MDD
     QUALCOMM’S OPENING CLAIM CONSTRUCTION BRIEF
1                  yeven@cravath.com
                   Vanessa A. Lavely (pro hac vice)
2
                   (N.Y. Bar No. 4867412)
3                  vlavely@cravath.com
                   Worldwide Plaza, 825 Eighth Avenue
4
                   New York, New York 10019
5                  Telephone: (212) 474-1000
                   Facsimile: (212) 474-3700
6
7                  Attorneys for Counterclaim-Defendants
                   QUALCOMM INCORPORATED
8
                   QUALCOMM TECHNOLOGIES, INC.
9
10
11
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1                           CERTIFICATE OF SERVICE
2        I hereby certify that a true and correct copy of the above and foregoing
3 document has been served on August 8, 2018, to all counsel of record who are
4 deemed to have consented to electronic service via the Court’s CM/ECF system.
5        Executed on August 8, 2018 at San Diego, California.
6
7                                            s/ Kelly V. O’Donnell
                                            Kelly V. O’Donnell
8
                                            kodonnell@jonesday.com
9
10
11
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13
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